Case 2:13-cv-00080-JMV-JBC Document 95 Filed 02/07/17 Page 1 of 3 PageID: 1358




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY




 SHAMIK VAKIL,
                Flaintff                                         Civil Action No. 13-00080
                                                                  OPINION & ORDER
        V.



 BAYER HEALTHCARE, LLC, BAYER
 CORPORATION, and BAYER HEALTHCARE
 PHARMACEUTICALS, INC.,
                Defendants.



John Michael Vazguez, U.S.D.J.


        Pending before the Court is Plaintiff Shamik Vakil’s unopposed motion (D.E. 93) to redact

certain portions of the Court’s December 7, 2016 opinion granting summary judgment in favor of

Defendants Bayer Healthcare, LLC, Bayer Corporation, and Bayer Healthcare Pharmaceuticals,

Inc. (collectively “Defendants”). In an abundance of caution, the Court filed the opinion under

seal because the underlying briefs and submissions had been sealed, and thus, allegedly sensitive

information may have been disclosed in the opinion. The Court ordered that the opinion would be

unsealed unless the parties filed a motion within two weeks setting forth the factual and legal basis

for keeping the opinion under seal. D.E. 89. On December 12, 2016, Plaintiff filed a motion to

maintain the entire opinion under seal (D.E. 90), which the Court denied (D.E. 92). On January

 10, 2017, Plaintiff filed the current motion seeking to redact certain portions of the December 7,

2016 opinion.
Case 2:13-cv-00080-JMV-JBC Document 95 Filed 02/07/17 Page 2 of 3 PageID: 1359




       Plaintiff claimed that he suffered personal injuries caused by the Defendants’ prescription

medication. For the most part, Plaintiff now seeks to seal the portions of the Court’s opinion

discussing Plaintiffs alleged injuries. As discussed further below, Plaintiff fails to cite any legal

authority supporting his argument, i.e., that personal injury plaintiffs may have their alleged

injuries sealed from the public docket.

       There is a presumption against sealing judicial records. See L. Civ. R. 5.3(a)(4); Pansy v.

Borough ofStroitdsbttrg, 23 F.3d 772, 786 (3d Cir. 1994). Sealing of entire briefs and declarations

is rarely appropriate. See, e.g., Miller v. Indiana Hosp., 16 F.3d 549, 551 (3d Cir. 1994) (“A party

who seeks to seal an entire record faces an even heavier burden.”); In re fleetBoston Fin. Corp.

Sec. Litig., 253 F.R.D. 315, 323 n.7(D.N.J. 200$). Similarly, sealing portions ofajudicial opinion

is a high burden to overcome. Hick/in Eng ‘g, L. C. v. Bartell, 439 F.3d 346, 348-49 (7th Cir. 2006)

(explaining that it is “impossible to see any justification for issuing off-the-record opinions” in

common civil litigation); Carnegie Mellon Univ. v. Marvell Tech. Grp., Ltd., No. 09-290, 2013

WL 1674190, at *2 (W.D. Pa. Apr. 17, 2013) (explaining that “civil proceedings cannot effectively

operate if huge swaths ofjudicial opinion and hearing transcripts are subject to redaction” and that

“[un order for the courts to “talk” to litigants and for the public to fully understand a court’s

precedent’ courts need to disclose the information, even if confidential, that is subject of the

adjudication” (quoting Mosaid Technologies Inc. v. LSI Corp., 878 F.Supp.2d 503, 513 (D.Del.

2012))).


       Here, Plaintiff has requested certain portions of the Court’s December 7, 2017 opinion to

be redacted. D.E. 93-2. Plaintiff argues that the parts of the opinion “describing Plaintiffs medical

history, diagnosis, and treatment” should be redacted pursuant to Local Rule of Civil Procedure

5.2(17), which provides that “caution must be exercised when filing documents that contain.


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Case 2:13-cv-00080-JMV-JBC Document 95 Filed 02/07/17 Page 3 of 3 PageID: 1360




[m]edical records, treatment, and diagnoses.” Id. Plaintiff claims that failing to remove details of

Plaintiffs medical condition may “have the capacity to negatively affect [his] profession and

future endeavors.” Id. However, aside from citing the Local Rules, Plaintiff has provided the

Court with no authority to support redacting parts of the opinion under these circumstances, that

is, alleged injuries suffered by a personal injury plaintiff. Plaintiff has not pointed to a single case

where the court permanently redacted portions of an opinion simply because it disclosed the

plaintiffs alleged injuries in a tort case. Therefore, Plaintiff has not met his burden in overcoming

the presumption that “all materials and judicial proceedings are matters of public record and shall

not be sealed.” See L. Civ. R. 5.3(a)(4). Plaintiffs motion is denied. For good cause shown,

        IT IS on this 7th day of February 2017,

        ORDERED that Plaintiffs motion to redact portions of the Court’s December 7, 2016

opinion (D.E. 93) is DENIED; and it is further

        ORDERED that the Clerk of the Court shall unseal D.E. 87 in its entirety.




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